
706 S.E.2d 249 (2011)
STATE of North Carolina
v.
Joseph Lee ARMSTRONG.
No. 405P10.
Supreme Court of North Carolina.
March 10, 2011.
Michael J. Reece, Smithfield, for Armstrong, Joseph Lee.
Norman Young, Assistant Attorney General, for State of N.C.
Howard S. Boney, Jr., District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 15th of September 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
